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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    CHAMBER OF COMMERCE OF THE
    UNITED STATES OF AMERICA, ET AL.,

         Plaintiffs,

    v.                                                 No. 4:24-cv-00213-P

    CONSUMER FINANCIAL PROTECTION
    BUREAU, ET AL.,

         Defendants.
                                     ORDER
       On June 18, 2024, the Fifth Circuit entered an Opinion in which the
    Circuit Court dissolved the administrative stay of this Court’s May 28,
    2024, Transfer Order, granted Plaintiffs’ petition for writ of mandamus,
    and directed this Court to vacate its Transfer Order. See ECF No. 98.
    The mandate from the Fifth Circuit was originally slated to be issued on
    August 12, 2024, but upon motion by Defendants at the Fifth Circuit,
    the Fifth Circuit has since issued the mandate returning the case to this
    Court and the Court dissolved the Transfer Order and reopened the
    case. See ECF No. 104.

         In response to the reopening of the case, Defendants filed a Notice of
    Supplemental Authority to support their May 28 Motion to Transfer. See
    ECF No. 107. Upon a review of the Notice as well as a close reading of
    Justice Thomas’s concurrence in FCA v. Alliance for Hippocratic
    Medicine, 602 U.S. 367, 397–405 (2024) (Thomas, J., concurring), the
    Court is deeply concerned with the issue of associational standing and
    how it can be used to challenge certain regulatory actions, as Plaintiffs
    seemingly do through their use of the Fort Worth Chamber of Commerce
    here. Indeed, the Fort Worth Chamber of Commerce is not only the only
    Party in this action actually located in the Fort Worth Division, but it
    only has one member affected by the CFPB’s proposed rule and that
    member seemingly joined the Fort Worth Chamber of Commerce to
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    establish venue in this very busy division. Further, none of those
    perhaps most directly affected by proposed rule, the American
    consumer, are even parties to this lawsuit.

       Accordingly,UNITED    STATES
                      the Court  desiresDISTRICT     COURT
                                           full briefing   on the issue of
               FOR THE NORTHERN DISTRICT OF TEXAS
    associational standing and how it relates to the facts and arguments in
                          FORT WORTH DIVISION
    this case. It is imperative that the Court consider standing before
     REGINALEA
    expending  anyKadditional
                   EMP,       resources evaluating the merits of Plaintiff’s
    requested relief. Afterall, Article III standing is a “bedrock
       Plaintiff, requirement that [courts have] applied to all manner of
    constitutional
    important disputes.” United States v. Texas, 599 U.S. 670, 675 (2023).
    v.                                                  No. 4:23-cv-00841-P
    Thus, every court must ask its plaintiff: “What’s it to you?” A. Scalia,
    The Doctrine of Standing as an Essential Element of the Separation of
    REGIONS BANK ET AL.,
    Powers, 17 Suffolk U. L. Rev. 881, 882 (1983). Therefore, Defendants are
        Defendants.
    ORDERED        to file such a formal motion addressing Plaintiffs’ standing
    on or before 5:00 p.m. on JulyORDER 29, 2024. Any response is to be filed by
    Plaintiffs
         Beforeon  or Court
                 the  before is
                              5:00 p.m. onUnopposed
                                Plaintiff’s August 12,Motion
                                                        2024. Defendants’
                                                               for Leave toreply
                                                                             File
    is to be filed
     Second        on or Complaint.
             Amended      before 5:00 ECF
                                      p.m.No.
                                            on 18.
                                               August  19,considered
                                                   Having  2024.     the Motion
    andFurther,
        applicable
                thedocket
                    Courtentries, the Court
                           determines  that GRANTS    the Motion.
                                             motion would benefit from a
    hearing and thus SETS
       SO ORDERED           a hearing
                       on this 18th dayforofTuesday August
                                             September  2023.27, 2024, at
    2:30 p.m. in the 4th floor courtroom of the Eldon B. Mahon Courthouse
    in Fort Worth, Texas.

         SO ORDERED on this 18th day of July 2024.



                           ______________________________________________
                           Mark T. Pittman
                           UNITED STATED DISTRICT JUDGE




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